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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



UNITED STATES OF AMERICA,

       Plaintiff,                                              Case No. 92-CR-81127-40
                                                             HONORABLE AVERN COHN

GREGORY BROWN,

     Defendant.
___________________________________/

           ORDER ALLOWING DEFENDANT TO FILE A NOTICE OF APPEAL

                                              I.

       This is a criminal case. In 1997, defendant was convicted by a jury of (1)

conspiracy to posses with intent to distribute cocaine, in violation of 21 U.S.C. § 846

and § 841(a)(1), (2) intentional killing, aiding and abetting, in furtherance of a continuing

criminal enterprise (CCE), in violation of 21. U.S.C. § 848(e)(1)(A), and 18 U.S.C. § 2,

and (3) using or carrying a firearm in relation to a drug offense, in violation of 18 U.S.C.

§ 924(c). Defendant was sentenced to life imprisonment.

       On October 29, 2007, defendant filed a motion to reduce or modify sentence

under 18 U.S.C. § 3582(c). On November 29, 2007, the Court denied the motion on the

grounds that there has been no change to the sentencing guidelines, particularly the

2006 amendment to the application notes of U.S.S.G. § 2A1.1,1 used to determine

defendant’s sentencing range. Thereafter, on December 10, 2007, defendant filed a

motion to accept defendant’s reply brief. On December 12, 2007, the Court granted the

motion and found nothing in the reply brief altered its conclusion to deny the motion. On

       1
      This guideline provision calls for a sentence of life imprisonment in a case of
premeditated killing or where death results from the commission of certain felonies.
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December 29, 2007, defendant signed and mailed a motion for reconsideration which

the Court received for filing on January 3, 2008. On January 9, 2008, the Court denied

the motion for reconsideration.

       On March 3, 2008, the Court received defendant’s instant Motion to Accept

Notice of Appeal as Timely Filed Pursuant to 4(c)(1), which defendant signed and

mailed on February 26, 2008.

                                            II.

       Under Fed. R. App. P. 4(a)(1)(B), defendant had sixty (60) days from the date of

judgment or order to file an appeal. In this case, the appeal time began from the Court’s

January 9, 2008 order denying defendant’s motion for reconsideration and runs until

March 10, 2008. As such, defendant is not yet late in filing a notice of appeal.

Defendant says he filed a placed a notice of appeal in the prison mail system for filing

on January 15, 2008; however there is no record of a notice of appeal being received or

filed in this Court. In any event, under Fed. R. App. P. 4(a)(5), the Court may extend

the time to file an appeal provided certain conditions are met. Here, defendant filed his

motion on February 26, 2008, before the appeal time has run. This is well within the

time for filing a motion for extension of time. Defendant has ten (10) days from the date

of this order, or until March 17, 2008 in which to file a notice of appeal. See Fed. R.

App. P. 4(a)(C).

       SO ORDERED.



Dated: March 6, 2008                       s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE



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                             CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record and Gregory Brown, 07163041, USP Allenwood, Box 3000, White Deer, PA
17887 on this date, March 6, 2008, by electronic and/or ordinary mail.


                                          s/Julie Owens
                                         Case Manager, (313) 234-5160




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